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                                                  ACLJ
                                          American Center
                                          forLaw & Justice
                                                          *




November 30, 2022


Office of Information Programs and Services (IPS)
NGIS/IPS/RL
U.S. Department of State, State Annex 2 (SA-2)
5 t 5 22nd Street, NW
Washjngton, DC 20522-8100
Telephone: (202) 261-8484
Facsimile: (202) 261-8579

RE:      FOIA Request Regarding Appointment of New Special Representative for Palestinian
         Affairs and Related Issues

Dear FOIA Officer:

This letter is a request ("Request") in accordance with the Freedom of Information Act ("FOIA"),
5 U.S.C. § 552, and the corresponding department/agency implementing regulations. The Request
is made by the American Center for Law and Justice ("ACLJ") 1 on behalf of its members.

To summarize, trus Request seeks records pertaining to the creation of the new position entitled
Special Representative for Palestinian Affairs within the Bureau of Near Eastern Affairs (NEA),
the scope of duties for that new position, at whose orders or request that new position was created,
the appointment specifically of Hady Amr to that new position, and any steps taken in this process
to ensure this new position does not hurt the interests of the United States' key ally, Israel.

                                                   Background

Pursuant to State Department FOIA regulation 22 C.F.R. § l 71.4(b), this Background addresses
"the subject, timeframe, names of any individuals involved, a contract number (if applicable), and
reasons why the requester believes the Department may have records on the subject of the request."
22 C.F.R. § 171.4(b).


1
 The ACLJ is a not-for-profit 501(c)(3) organization dedicated to the defense of constitutional liberties secured by
law. The ACLJ regularly monitors governmental activity and works to inform the public of such affairs. The ACLJ
and its global affiliated organizations are commined to ensuring governmental accountability and the ongoing
viability of freedom and liberty in the United States and around the world.
                                                          *
                                             201 MarylandAvenue, N.E.
                                               Washington,DC 20002
                                                   202-546-8890
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    According to a report over the weekend, the State Department has created a new position entitled
    Special Representative for Palestinian Affairs, and appointed Hady Amr to fill that position. 2 Amr
    will work under the authority of the Secretary of Near Eastern Affairs and that Bureau (NEA), 3
    which is under the Under Secretary for Political Affairs (P). According to the report, Amr "served
    in the last two years as deputy assistant secretary of state for Israeli-Palestinian affairs." 4

 According to Axios, "The U.S. diplomats at the Jerusalem-based Office of Palestinian Affairs will
 work closely with the special representative." 5 Further, '"The Washington-based Special
 Representative for Palestinian Affairs will engage closely with the Palestinians and their leadership
 and, together with Ambassador [Thomas] Nides and his team, continue to engage with Israel on
 Palestinian-related issues,' the State Department official said. "6

Also according to Axios, "Two U.S. and Palestinian officials said this move was several months
in the making." 7 Importantly, "The creation of the new post is also meant to upgrade the U.S.-
Palestinian relationship and diplomatic representation as much as possible given the U.S. consulate
in Jerusalem, which served as the U.S. diplomatic mission to the Palestinians, has yet to reopen,
according to a U.S. official." 8

The story continues: "Former U.S. special envoy for Israeli-Palestinian peace Martin Indyk told
Axios the move sends a signal to the Palestinians of their importance at a time when the Jerusalem
Consulate remains closed and there's no Palestinian Liberation Office office [sic] in Washington.
The Trump administration closed the Washington PLO office in 2018." 9And,

           Palestinian President Mahmoud Abbas had reservations about it at first, but in
           recent weeks made it clear that the Palestinian Authority agreed with the decision
           and will work with Amr, according to the Palestinian source. The State Department
           notified the outgoing Israeli government about the move and also updated incoming
           Prime Minister Benjamin Netanyahu and his advisers in advance, the U.S. official
           said. 10

Axios quotes Indyk as saying that, "[b ]ecause Hady is known and trusted by the Secretary of State
and other senjor officials, he will have access and influence at the highest Jevel." 11

In swn, the position is a significant one. Amr will have access and influence at the highest level.
It appears from the reporting that the United States consulted with the Palestinian Authority·s
President Mahmoud Abbas concerning the position, though apparently only notified Israel's

2
 Barak Ravid, Scoop: U.S. Creates Special Representative Post Focused Solely on Palestinian Affairs, AXIOS(Nov.
22, 2022), https://www .axios.com/2022/ I I/22/us-palestinian-upgrade-relations-hady-amr.
3 Id.
4 Id.
s Id.
6 Id.
7 Id.
s Id.
9 Id.
io id.

'' Id.


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 outgoing and incoming government. It is apparent that the position's creation is motivated at least
 in part by the Biden Administration's attempt to reverse Trump Administration policies, including
 closing the U.S. diplomatic mission in Jerusalem and not allowing the PLO to open an office in
 Washington, D.C.

 The State Department has already posted Amr's biography and new status on its website, noting
 that "Amr served as the Deputy Assistant Secretary of State for Israeli and Palestinian Affairs from
 January 2021 to November 2022.'" 12

According to the State Department's bio of Amr, Amr "was a scholar with both the Brookings
Institution and the Center for a New American Security where he focused on U.S. foreign policy
across the Middle East and on human development in the region." 13 Arnr's 4-year tenure, from
February 2017 to January 2021, as a "Visiting Fellow and Project Director/ Nonresident Senior
Fellow" at Brookings is also listed on his Linkedln profile. 14In 2022, Politico reported on concerns
raised of Brookings' involvement with and receiving millions of dollars from foreign governments
in the Middle East during Arnr's tenure there (e.g., "Qatar had become one of Brookings' top
donors, netting the institution millions of dollars - and no shortage of flak from critics of Qatar's
human-rights record and its friendships towards groups like the Muslim Brotherhood."). 15
Reportedly, another former Brookings Fellow is or was under FBI investigation regarding,
allegedly, taking payments from Qatar to influence U.S. policy in the region and a former U.S.
ambassador identified as having worked with Allen pied guilty to related charges. According to
Politico "Martin lndyk, the former Brookings vice president , .. championed the establishment of
the Doha center" for Brookings, the controversial center Brookings opened in Qatar.

'"What's exciting about this project is that it's a joint project of Brookings and the Qatari
Government,' Hady Amr gushed about his old role as the director of the Brookings Doha Center,
whose aim he said was to 'inform the American public and American policymakers. '" 16 And,

        Amr was the founding director of the Brookings Doha Center and led it between
        2006 and 20 I 0. A Times report noted that the institution had forbidden criticism of
        Qatar. Lawyers interviewed by the paper suggested that some of Brookings' work
        with foreign governments merited "registration as foreign agents." Brookings has
        not only not done so, its key personnel, like Amr, have gone on to work in important
        United States government positions. 17




12
   Hady Amr, STATE.GOVhttps://www.state.gov/biographies/hady-amr/   (last visited Nov. 28, 2022).
13 Id.
14
   Hady Amr, LtNKEDIN https://www.linkedin.com/in/hady-amr-
5aa997/?original referer=https%3A%2F%2Fduckduckgo.com%2F (last visited Nov. 29, 2022).
15
   Michael Shaffer, He Tried to Reform the Way a Top D.C. Think Tank Gets Money. Now the FBI Is looking Into
Him., POLITICO(Jun. 17. 2022) https://www.politico.com/news/magazine/2022/06/17/john-allen-brookings-
institution-fbi-gatar-00040380.
16
   Daniel Greenfield, The Problem with Hady Amr, JEWISHNEWSSYNDICATE(Feb. 4, 2021)
https://www.jns.org/opinion/the-problem-with-hady-amr/.
11 Id




                                                      3
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Also according to reports, "At Brookings Doha, Amr had urged that the 'Muslim Brotherhood
organizations across the Muslim World should be engaged. "' 18

Further, in June 2022,

           the Biden administration closed the Palestinian Affairs Unit operating within the
           U.S. embassy in Jerusalem, replacing it with a new "Office of Palestinian Affairs"
           (OPA). While a spokesman tried to downplay the significance of the move-
           framing it as merely overturning a Trump-era decision and referring to it as just a
           "name change"-it actually established a new and independent reporting line
           directly to Washington, D.C., outside of the normal diplomatic channels. 19

Legal issues have been raised about this move:

           There is no other place in the world in which the U.S. maintains both an official
           embassy and a separate office reporting directly to Washington in the exact same
           city-and the opening of the OPA, a de facto consulate, signals that the Biden
           administration is treating Jerusalem as if it is not one, but two distinct cities. Doing
           so is illegal under the plain terms of the Jerusalem Embassy Act of 1995, which
           provides that "Jerusalem should remain an undivided city" (and which was passed,
           incidentally, by an overwhelming bipartisan consensus in both houses of Congress).
           The move is also likely illegal under Articles 4, 7 and 8 of the 1963 Vienna
           Convention on Consular Relations, which require a receiving state (Israel) to give
           consent and approval before a foreign consulate may be established in its sovereign
           territory .... The announcement came just days before Assistant Secretary of State
           for Near Eastern Affairs Barbara Leaf (to whom the OPA will now report on
           "substantive matters") met with Palestinian Authority (PA) President Mahmoud
           Abbas for discussions on increasing U.S.-Palestinian assistance. As such, the
           opening of the new office, which is clearly designed to help facilitate that aid, is
           also illegal under the 2018 Taylor Force Act, another law passed by a massive
           bipartisan congressional consensus. That law put a hold on any assistance that
           directly benefits the PA unless and until the PA stops paying terrorists to kill
           American and Israeli citizens. Both Abbas and Biden's own State Department
           recently confirmed that the PA has yet to do that. 20

Amr has made news headlines over his previous comments about Israel and the Palestinians:
"I was inspired by the Palestinian intifada," Hady Amr wrote a year after Sept. 11, 2001, discussing
his work as the national coordinator of the anti-Israel Middle East Justice Network." 21




1s   Id.
19
   Mark Goldfeder, Eiden is Undermining the Law and Throwing Israel Under the Bus I Opinion, Newsweek (Jun.
 14, 2022) https://www .newsweek.com/biden-undermining-law-throwing-israel-under-bus-opinion-1715063.
20 Id.
21
   Daniel Greenfield, The Problem with HadyAmr, JEWISliNEWS SYNDICATE(Feb.4, 2021)
https://www.jns.org/opinion/the-problem-with-hady-amr/.


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           "I have news for every Israeli," Amr ranted in a column written after Sheikh Salah
           Shahada, the head ofHamas's Izz ad-Din al-Qassam Brigades, was taken out by an
           Israeli airstrike in 2002.

           Amr warned that Arabs '·now have televisions, and they will never, never forget
           what the Israeli people, the Israeli military and Israeli democracyhave done to
           Palestinian children. And there will be thousands who will seek to avenge these
           brutal murders of innocents."

           He also threatened Americans that "we, too, shouldn't be shocked when our
           military assistance to Israel and our security council vetoes that keep on protecting
           Israel come back to haunt us."22

For context, "The future State Department official was making these threats less than a year after
9111.,,z3

Multiple media outlets are reporting on the story of Arnr's appointment to this new position. 24

                                               Records Requested

For purposes of this Request. the term "record" means "any information" that qualifies under 5
U.S.C. § 552(±), and includes, but is not limited to, the original or any full, complete and unedited
copy of any log, chart, list, memorandum, note, correspondence, writing of any kind, policy,
procedure, guideline, agenda, handout, report, transcript, set of minutes or notes, video, photo,
audio recordings, or other material. The term "record" also includes, but is not limited to, all
relevant information created, stored, received or delivered in any electronic or digital format, e.g.,
electronic mail, instant messaging or Facebook Messenger, iMessage, text messages or any other
means of communication, and any information generated, sent, received, reviewed, stored or
located on a government or private account or server, consistent with the holdings of Competitive
Enter. Inst. v. Office of Sci. & Tech. Policy, 827 F.3d 145 (D.C. Cir. 2016) (rejecting agency
argument that emails on private email account were not under agency control, and holding, "If a
department head can deprive the citizens of their right to know what his department is up to by the
simple expedient of maintaining his departmental emails on an account in another domain, that
purpose is hardly served.").



22   Id.
23 Id.
24
   All Arab News Staff, Biden Names Special Representative for Palestinian Affairs, NEWSMAX (Nov. 25, 2022)
https://www .newsmax.com/world/globaltalk/biden-adm in istration-palestine-hady-amr/2022/ I I /25/id/ I 097903/; see
also Betham McKeman, Biden Upgrades US-Palestinian Relations by Naming Special Representative, THE
GUARDIAN (Nov. 23, 2022), https:/ /www. theguard ian .com/us-news/2022/nov/23/biden-upgrades-us-palestin ian-
relations-by-nam ing-special-representative; Melanie Phillips, The Humbug of the West Over Murdered Israelis,
ISRAEL TODAY.CO.IL. (Nov. 25, 2022) https://www.israeltodav.eo.il/read/the-humbug-of-the-west-over-murdered-
israelis/; Omri Nahmias, US Appoints Special Representative for Palestinian Affairs, THE JERUSALEMPOST(Nov.
23, 2022) https://www.jpost.com/intemational/article- 723173 ; Velshi: Biden Has 1he Tools to Fix Ties with the
Palestinians. It's Time to Act., YAHOONEWS(Nov,26,2022)hrrps://news.yahoo.com/velshi-biden-tools-fix-ties-
154950367 .htm I.



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All requests seek records which include, but are not limited to, any record located on backup tapes,
archives, any other recovery, backup, storage or retrieval system, DOS electronic mail or message
accounts, non-DOS electronic mail or message accounts, personal electronic mail or message
accounts, DOS servers, non-DOS servers, and personal servers, as well as any electronic mail or
message carbon copied to agency account recipients, any electronic mail or message carbon copied
to non-agency account recipients, any electronic mail or message forwarded to agency account
recipients, any electronic mail or message fo1warded to non-agency account recipients, and
anachments to any electronic mail or message.

For purposes of this Request, the term "briefing" includes. but is not limited to. any in-person
meeting, teleconference. electronic communication, or other means of gathering or communicating
by which information was conveyed to one or more person(s).

For purposes of this Request, the term "DOS official" includes, but is not limited to, any person
who is (1) employed by or on behalf of the DOS, any Mission of the United States, or any
Delegation of the United States, in any capacity; (2) contracted for services by or on behalf of the
DOS, any Mission of the United States, or any Delegation of the United States, in any capacity;
(3) appointed by the President of the United States to serve in any capacity at or within the DOS,
any Mission of the United States, or any Delegation of the United States; or (4) any such person's
staff, agent or employee; all without regard to the component, bureau, or office in which that
person serves.

For purposes of this Request, all sources, documents, letters, reports, briefings, articles and press
releases cited in this Request are incorporated by reference as if fully set forth herein.

For purposes of this Request, any individual or entitv's name includes any alias or
pseudonym.

For purposes of this Request, and unless otherwise indicated, the timeframe of records
requested herein is January 20, 2021, to the date this request is processed.

Pursuant to FOIA. 5 U.S.C. § 552 et seq., ACLJ hereby requests that the DOS produce the
following:

1.     The English text of this webpage: bttps://palestinianaffairs.state.gov/

2.     The applicable Foreign Affairs Manual and Foreign Affairs Handbook for the new
position of Special Representative for Palestinian Affairs.

3.     All records of Secretary of State Antony Blinken's (including but not limited to that
of his immediate subordinates, assistants, liaisons, secretaries, designates, or any other
person communicating on his behalf) communications about the creation of the Special
Representative for Palestinian Affairs or Amr's appointment to that position, including but
not limited to emails or text messages with Martin Indyk.




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4.      AIJ records of communications between Secretary of State Antony Blinken and Hady
Amr (including but not limited to that of their immediate subordinates, assistants, liaisons,
secretaries, designates, or any other person communicating on their behalf).

5.    All records of Amr's communications with any DOS official at a GS-13 level or higher
or an appointee within the Secretary's Office (S) (including but not limited to that of
immediate subordinates, assistants, liaisons, secretaries, designates, or any other person
communicating on another's behalf), about:

       (a)    the new position, Special Representative for Palestinian Affairs, or his
              appointment to it;
       (b)    Israel;
       (c)    the Palestinian Authority (PA); or,
       (d)    the Palestinian Liberation Organization (PLO).

6.     All records of Amr's communications with any DOS official at a GS-13 level or higher
or an appointee within the office of the Under Secretary of Political Affairs (including but
not limited to that of immediate subordinates, assistants, liaisons, secretaries, designates, or
any other person communicating on another's behalf) about:

       (a)    the new position, Special Representative for Palestinian Affairs, or Amr's
              appointment to it;
       (b)    Israel;
       (c)    the Palestinian Authority (PA); or,
       (d)    the Palestinian Liberation Organization (PLO).

7.     All records of Amr's communications with any DOS official at a GS-13 level or higher
or an appointee within the office of the Under Secretary of Political Affairs, the Deputy
Secretary's Office (D), or the Chief of Staff's Office (COS) (including but not limited to that
of immediate subordinates, assistants, liaisons, secretaries, designates, or any other person
communicating on another's behalf) about:

       (a)    the new position, Special Representative for Palestinian Affairs, or Amr's
              appointment to it;
       (b)    Israel;
       (c)    the Palestinian Authority (PA); or,
       (d)    the Palestinian Liberation Organization (PLO).

8.      All records, communications or briefings created, generated, forwarded, transmitted,
sent, shared, saved, received, or reviewed by any DOS official within the Bureau of Near
Eastern Affairs (NEA) at a GS-13 level or higher or an appointee, including but not limited
to Assistant Secretary Barbara Leaf or her predecessor Acting Assistant Secretaries Joey
Hood or Yael Lempert (including but not limited to that of immediate subordinates,
assistants, liaisons, secretaries, designates, or any other person communicating on another's
behalf), about the new position of Special Representative for Palestinian Affairs, or Am r's
appointment to it.



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9.      All records, communications or briefings created, generated, forwarded, transmitted,
sent, shared, saved, received, or reviewed by any DOS official within the U.S. Embassy in
Israel at a GS-13 level or higher or an appointee (including but not limited to that of
immediate subordinates, assistants, liaisons, secretaries, designates, or any other person
communicating on another's behalf), including but not limited to Ambassador Thomas
Nides, about the new position of Special Representative for Palestinian Affairs, or Amr's
appointment to it.

10.     All records, communications or briefings created, generated, forwarded, transmitted,
sent, shared, saved, received, or reviewed by any DOS official at a GS-13 level or higher or
an appointee within the Secretary's Office (S), the office of the Under Secretary of Political
Affairs, the Deputy Secretary's Office (0), the Chief of Staff's Office (COS), or the Bureau
of Near Eastern Affairs (NEA) (including but not limited to that of immediate subordinates,
assistants, liaisons, secretaries, designates, or any other person communicating on another's
behalf), discussing the legality of the Office of Palestinian Affairs (OP A) - or the
establishment of a Special Representative for Palestinian Affairs which will work closely with
the OP A - under U.S. law or treaties, including the Taylor Force Act, Articles 4, 7 and 8 of
the 1963 Vienna Convention on Consular Relations, or the Jerusalem Embassy Act of 1995
(legitimate attorney-client privileged communications should be privileged logged or
identified in a Vaughn Index).

11.     All records, communications or briefings created, generated, forwarded, transmitted,
sent, shared, saved, received, or reviewed by any DOS official at a GS-13 level or higher or
an appointee within the Secretary's Office (S), the office of the Under Secretary of Political
Affairs, the Deputy Secretary's Office (D), the Chief of Staff's Office (COS), or the Bureau
of Near Eastern Affairs (NEA) (including but not limited to that of immediate subordinates,
assistants, liaisons, secretaries, designates, or any other person communicating on another's
behalf), discussing Amr's tenure at the Brookings Institution and any funding received by
the Brookings Institution or its Fellows from foreign governments, including but not limited
to Qatar, during Amr's tenure there.

12.     All records, communications or briefings created, generated, fonvarded, transmitted,
sent, shared, saved, received, or reviewed by any DOS official at a GS-13 level or higher or
an appointee within the Secretary's Office (S), the office of the Under Secretary of Political
Affairs, the Deputy Secretary's Office (D), the Chief of Staff's Office (COS), or the Bureau
of Near Eastern Affairs (NEA) (including but not limited to that of immediate subordinates,
assistants, liaisons, secretaries, designates, or any other person communicating on another's
behalf), discussing Amr's involvement with the Brookings Doha Center in Qatar and its
closure right around the time Amr returned to the State Department.

13.     All records, communications or briefings created, generated, forwarded, transmitted,
sent, shared, saved, received, or reviewed by any DOS official at a GS-13 level or higher or
an appointee within the Secretary's Office (S), the office of the Under Secretary of Political
Affairs, the Deputy Secretary's Office (D), the Chief of Staff's Office (COS), or the Bureau
of Near Eastern Affairs (NEA) (including but not limited to that of immediate subordinates,



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assistants, liaisons, secretaries, designates, or any other person communicating on another's
behalf), discussing Am r's previous negative comments about Israel, the Palestinian Intifada,
Israeli-Palestinian conflict, American funding and Security Council vetoes "coming back to
haunt us," or any other comments demonstrating his stance toward Israel.

14.     All communications or other records sent from February 2017 to January 20, 2021,
between Amr and any DOS official at a GS-13 level or higher or an appointee within the
Secretary's Office (S), the office of the Under Secretary of Political Affairs, the Deputy
Secretary's Office (D), the Chief of Staff's Office (COS), or the Bureau of Near Eastern
Affairs (NEA) (including but not limited to that of immediate subordinates, assistants,
liaisons, secretaries, designates, or any other person communicating on another's behalf),
discussing Qatar, Israel, Palestine, the PA, the PLO, Ham as, Hezbollah, the Muslim
Brotherhood, or Iran.

15.     All communications or other records sent to or between Martin Indyk from February
2017 to the date this FOIA is processed, and any DOS official at a GS-13 level or higher or
an appointee within the Secretary's Office (S), the office of the Under Secretary of Political
Affairs, the Deputy Secretary's Office (D), the Chief of Staff's Office (COS), or the Bureau
of Near Eastern Affairs (NEA) (including but not limited to that of immediate subordinates,
assistants, liaisons, secretaries, designates, or any other person communicating on another's
behalf), discussing Hady Amer, Qatar, Israel, Palestine, the PA, the PLO, Ham as, Hezbollah,
the Muslim Brotherhood, or Iran.

16.    All records of the Under Secretary for Management (M) or any DOS official at a GS-
13 level or higher or an appointee within that office (including but not limited to that of bis
immediate subordinates, assistants, liaisons, secretaries, designates, or any other person
communicating on his behalf) about or mentioning the creation of the Special Representative
for Palestinian Affairs or Hady Amr, including but not limited to emails or text messages
with Martin Indyk or anyone at or associated with the Brooking Institution.

17.     All records of the Counselor (C) or any DOS official at a GS-13 level or higher or an
appointee within that office (including but not limited to that of his immediate subordinates,
assistants, liaisons, secretaries, designates, or any other person communicating on his behalf)
about or mentioning the creation of the Special Representative for Palestinian Affairs or
Hady Amr, including but not limited to emails or text messages with Martin Indyk or anyone
at or associated with the Brooking Institution.


                                         CONCLUSION

If this Request is denied in whole or in part, the ACLJ requests that, within the time requirements
imposed by FOIA, you support all denials by reference to specific FOIA exemptions and provide
any judicially required explanatory information, including but not limited to, a Vaughn Index.




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Thank you for your prompt consideration of this Request. Please furnish all applicable records and
direct any responses to:

       Jordan Sekulow, Executive Director                   foia-response@aclj.org
       Benjamin P. Sisney, Senior Litigation Counsel        bsisney(a),aclj .org
       John A. Monaghan, Senior Litigation Counsel          jmonaghan@aclj.org
       American Center for Law and Justice
       20 I Maryland Ave., NE
       Washington, D.C. 20002-5703
       (202) 546-8890; (202) 546-9309 (fax)

I affirm that the foregoing request and attached documentation are true and correct to the best of
my knowledge and belief.

Respectfully submitted,




Jordan Sekulow                                      Benjamin P. Sisney
Executive Director                                  Senior Litigation Counsel



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John A Monaghan
Senior Litigation Counsel




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